JS 44 (Rev. 06/17)

Case 4:19-cv-00093 acu ns tat SHEL T2779 Page 1 of 2

The JS 44 civil cover shect and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974. is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORAL)

 

I.

(a) PLAINTIFFS

Noemi Aguilar

(b) County of Residence of First Listed Plaintiff

Jeff Davis

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

See attachment

DEFENDANTS

NOTE:

Attorneys (/f Known)

See attachment

 

Village Farms of Delaware, LLC

County of Residence of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

Ill. BASIS OF JURISDICTION (Place an "X" in One Box Only)

 

(For Diversity Cases Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plainti

and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

 

QO 1 US, Government 73 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State (| G1 Incorporated or Principal Place a4 04
of Business In This State
O 2. U.S. Government 4° Diversity Citizen of Another State M2 © 2 Incorporated and Principal Place a5 &5
Defendant (Indicate Citizenship of Parties in Item Ill) of Business In Another State
Citizen or Subject of a O3 © 3 Foreign Nation 716 76
Foreign Country
IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions,
[ CONTRACT TORTS FORFEITURE/PENALTY. BANKRUPTCY. OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY — | 625 Drug Related Seizure C422 Appeal 28 USC 158 1 375 False Claims Act
© 120 Marine @ 310 Airplane 365 Personal Injury - of Property 21 USC 881) | 423 Withdrawal 7 376 Qui Tam (31 USC
130 Miller Act O 315 Airplane Product Product Liability 690 Other 28 USC 157 372%a))
© 140 Negotiable Instrument Liability 1 367 Health Care/ 1 400 State Reapportionment
O 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 7 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights J 430 Banks and Banking
1 151 Medicare Act 330 Federal Employers" Product Liability 830 Patent J 450 Commerce
1 152 Recovery of Defaulted Liability O 368 Asbestos Personal 7 835 Patent - Abbreviated 1 460 Deportation
Student Loans O 340 Marine Injury Product New Drug Application J 470 Racketcer Influenced and
(Excludes Veterans) 345 Marine Product Liability 1 840 Trademark Corrupt Organizations
1 153 Recovery of Overpayment Liability PERSONAL PROPERTY _.. LABOR _ SOCIAL SECURITY 1 480 Consumer Credit
of Veteran's Benefits 330 Motor Vehicle O 370 Other Fraud © 710 Fair Labor Standards 1 861 HIA (1395ff) J 490 Cable/Sat TV
© 160 Stockholders’ Suits O 355 Motor Vehicle © 371 Truth in Lending Act 1 862 Black Lung (923) 1 850 Securities/Commodities/
© 190 Other Contract Product Liability 1 380 Other Personal 1 720 Labor/Management O 863 DIWC/DIWW (405/2)) Exchange
1 195 Contract Product Liability | 360 Other Personal Property Damage Relations 1 864 SSID Tide XVI 1 890 Other Statutory Actions
196 Franchise Injury O 385 Property Damage 1 740 Railway Labor Act 1 8635 RSI (403(g)) J 891 Agricultural Acts
362 Personal Injury - Product Liability J 751 Family and Medical 4 893 Environmental Matters
Medical Malpractice Leave Act J $95 Freedom of Information
{ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|(% 790 Other Labor Litigation FEDERAL TAX SUITS Act
210 Land Condemnation O 440 Other Civil Rights Habeas Corpus: 0 791 Employee Retirement O 870 Taxes (U.S, Plaintiff J 896 Arbitration
1 220 Foreclosure 0 441 Voting 463 Alien Detainee Income Security Act or Defendant) J 899 Administrative Procedure
O 230 Rent Lease & Ejectment O 442 Employment 510 Motions to Vacate © 871 IRS—Third Party Acv/Review or Appeal of
240 Torts to Land 1 443 Housing’ Sentence 26 USC 7609 Agency Decision
O 245 Tort Product Liability Accommodations @ 330 General 1 950 Constitutionality of
290 All Other Real Property O 445 Amer. w/Disabilitics - | J IMMIGRATION State Statutes

 

Employment

J 446 Amer. w/Disabilities -
Other

© 448 Education

535 Death Penalty

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

360 Civil Detainee -
Conditions of
Confinement

 

 

 

O 462 Naturalization Application
O 465 Other Immigration
Actions

 

 

 

V. ORIGIN (Place an “X" in One Box Only)

o

VI. CAUSE OF ACTION

! Original
Proceeding

VII. REQUESTED IN

COMPLAINT:

[X2 Removed from
State Court

3

28 USC 1332(a),

 

O CHECK IF THIS

Remanded from o4

Appellate Court

1441(a)

Brief description of cause:
Diversity of citizenship, amount in controversy exceeds $75,000 and employment discrimination

IS A CLASS ACTION

UNDER RULE 23, F.R.Cv.P.

VIII. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

Reinstated or
Reopened
(specifi)

DEMAND $
1,000,000.00

J 3 Transferred from
Another District

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

O 6 Multidistrict
Litigation -
Transfer

8 Multidistrict
Litigation -
Direct File

CHECK YES only if demanded in complaint:

JURY DEMAND:

DOCKET NUMBER

SX Yes ONo

 

DATE

09/27/2019
FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

SIGNATURE OF ATTORNEY OF RECORD
ee

APPLYING IFP

JUDGE

MAG. JUDGE
Case 4:19-cv-00059 Document 1-1

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